       Case 1:08-cr-00358-LJO Document 73 Filed 08/28/09 Page 1 of 2


 1 KATHERINE HART #76715
   Attorney at Law
 2 2055 San Joaquin
   Fresno, Ca. 93721
 3 Telephone: (559) 256-9800
   Facsimile: (559) 256-9798
 4
     Attorney for Defendant
 5   SANTIAGO AVALOS
 6
 7
 8                  IN THE UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )       CR-F-08 00358 AWI
                                           )
12         Plaintiff,                      )       STIPULATION TO RESET
                                           )       SENTENCING DATE AND
13                                         )       ORDER
                                           )
14                                         )       Proposed date: October 5, 2009
                                           )       Time: 9:00 a.m
15         v.                              )       Previous date: September 8, 2009
                                           )
16   SANTIAGO AVALOS,                      )
                                           )
17         Defendant.                      )
                                           )
18
           It is hereby stipulated between counsel for the government and counsel for
19
     defendant that additional time is needed to prepare for sentencing as the Safety
20
     Valve interview has not yet been conducted, the codefendants’ trial is set for
21
     September 22, 2009, and counsel for both sides request that sentencing take place
22
     after the codefendants’ trial.
23
24
     DATE: August 27, 2009                 /s/Katherine Hart
25                                         KATHERINE HART, Attorney for
                                           Defendant SANTIAGO AVALOS
26
27
28                                             1
       Case 1:08-cr-00358-LJO Document 73 Filed 08/28/09 Page 2 of 2


 1   DATE: August 27, 2009                 /s/ Laurel Montoya
                                           LAUREL MONTOYA, Assistant United
 2                                         States Attorney
 3
                                        ORDER
 4
 5
           Good cause appearing, it is hereby ordered that the sentencing hearing
 6
     previously set for September 8, 2009 at 9:00 a.m. be re-scheduled for October 5,
 7
     2009 at 9:00 a.m.
 8
 9
     IT IS SO ORDERED.
10
     Dated:   August 28, 2009                  /s/ Anthony W. Ishii
11   0m8i78                           CHIEF UNITED STATES DISTRICT JUDGE
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                          2
